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MIcHAEL cuRsEY and MARY L. HuGHEs CLEH; rig i_;l;~c"f,' i§'§”&mr

P|aintiffS, r§S
No. 03-2674 D/V
vs.

FICKRY RAPHAEL, UMA GROUP, LTD.
d/b/a/ CONSULTANTS UMA, SIMON

PROPERTY GROUP, L.P., RALEIGH SPRINGS, )
LLC, and SEARS, ROEBUCK and COMPANY, )

)
Defendants. )

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) JuRY DEMANDED
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ORDER GRANTING JOINT MOTION FOR EXTENSION OF DEADLINES

 

This matter is before the Court on the Parties' Joint Motion to extend the
discovery deadline and the deadline for the filing of expert disclosures. Upon

consideration of the parties' Motion and for good cause shown:

It is therefore, ORDERED, DECREED, and ADJUDGED that the deadline for all Written
discovery and depositions and the filing of expert disclosures be extended thirty-seven (37)
days, up to and including August 22, 2005, and the deadline for dispositive motions be

extended up to and including September 2, 2005.

 

 

 

ENTERED this the g say of 2005.
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APPROVED FOR ENTR\':

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 89 in
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July ]8, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

